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                                                                          FILED
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                       IN THE UNITED STATES DISTRICT COURT
                                                                       MAY 3 1 2023
                       FOR THE EASTERN DISTRICT OF VIRGINIA

                                 NORFOLK DIVISION                 CLERK, U.S. DISTRICT COURT   I
                                                                        NORFOLK. VA            i

UNITED STATES OF AMERICA

      V.                                                   aasmjTI
                                                    Case No.
                                                    Court Date: June 2, 2023

JOSHUA D. CARLES

                              CRIMINAL INFORMATION

                                    COUNT ONE
                   (Misdemeanor)- Violation Notice No. E1824854

      THE UNITED STATES ATTORNEY CHARGES:

      That on or about May 19, 2023 r   at Naval Station Norfolk, Virginia, on


lands acquired for the use of the United States and within the special

maritime and territorial jurisdiction thereof, in the Eastern District of
                                                                                                   {


Virginia, the defendant, JOSHUA D. CARLES, did unlawfully drive and operate a

motor vehicle while under the influence of alcohol and with a blood alcohol

concentration of at least .15 grams per 210 liters of breath, but not more

than .20 grams per 210 liters of breath, as indicated by a chemical test, to

v/it: did have a blood alcohol concentration of .15 grams per 210 liters of                        f


breath.

      (In violation of Title 18, United States Code, Sections 7 and 13,
assimilating Code of Virginia, Sections 18.2-266 and 18.2-270.)



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                              COUNT TWO
                            (Misdemeanor)

     THE UNITED STATES ATTORNEY CHARGES:

     That on or about May 19, 2023, at Naval Station Norfolk,

Virginia, on lands acquired for the use of the United States and
                                                                  in
within the special maritime and territorial jurisdiction thereof, i

                                                                     did
the Eastern District of Virginia, the defendant, JOSHUA D. CARLES,

willfully and unlawfully disregard a visible and audible signal from a

law-enforcement officer to bring his motor vehicle to a stop and drove

his motor vehicle in willful and wanton disregard of such signal.

     (In violation of Title 18, United States Code, Sections 7 and 13,
assimilating Code of Virginia, Section 46.2-817.)


                                Respectfully submitted,

                                Jessica D. Aber
                                United States Attorney




                          By:
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                                Special Assistant U.S. Attorney
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                           CERTIFICATE OF MAILING


      I hereby certify that on the date indicated below, I caused a true and
correct copy of the foregoing Criminal Information to be mailed, postage
prepaid, to the defendant in the above-styled case.




                                   Meridith A. Wailes
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                                    Date




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